                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                           CRIMINAL NO. 5:10CR53-1-V


UNITED STATES OF AMERICA                      )
                                              )
               vs.                            )               ORDER
                                              )
JAMES PAUL BYRD,                              )
                  Defendant.                  )
__________________________________            )


       THIS MATTER is before the Court on Defendant’s Post-Plea Notice of Appeal from

Magistrate Judge’s Revocation of Bond and Detention Order, pursuant to 18 U.S.C. § 3145(c), filed

July 22, 2011. (Document #90) The Government opposes release. (Document #93)

       Defendant Byrd is charged with conspiring to commit various child pornography offenses,

namely, conspiring to distribute child pornography in violation of 18 U.S.C. §2252A(a)(2), to

advertise, promote, present, distribute, or solicit through the mails child pornography in violation

of 18 U.S.C. §2252A(a)(3)(B), and to possess or access with intent to view any media that contains

child pornography in violation of 18 U.S.C. §2252A(a)(5)(B), as well as a substantive distribution

offense under §2252A(a)(2). Byrd, the lead defendant, is identified as an administrator of one of the

Facebook sites that allegedly operated as a forum for the distribution of pornographic images.

       On July 22, 2011, Defendant tendered a guilty plea to both charged offenses. Upon

acceptance of his guilty plea, the Magistrate Judge revoked Defendant’s bond and ordered him

detained. This appeal followed.

       Within his appeal, Defendant contends that “exceptional reasons” exist that justify his release

pending sentencing. See 18 U.S.C. §3145(c); United States v. Goforth, 546 F.3d 712 (4th Cir.2008).

However, the Court finds that Defendant’s desire to continue with his current group treatment with


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Dr. Tyson is not exceptional. Similarly, the personal hardships described with respect to work and

home are not exceptional. Defendant’s appeal will be denied.



       IT IS, THEREFORE, ORDERED THAT:

       1) Defendant’s Appeal of the Magistrate Judge’s Order of Revocation / Detention Order is

       hereby DENIED; and

       2) Defendant’s motion for a hearing is DENIED as moot.




                                                Signed: August 5, 2011




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